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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

JOHN J. JERUE and MICHAEL J. FEIST,

         Plaintiffs,
v.                                                                       Case No. 8:17-CV-00587-EAK-AEP

DRUMMOND COMPANY, INC.,

         Defendant.


     PLAINTIFFS’ SUPPLEMENTAL RESPONSE IN OPPOSITION TO DEFENDANT’S
            MOTION TO COMPEL ACCESS FOR TESTING BY THE FDOH

         On October 11, 2018, Plaintiffs filed their Opposition to Defendant’s Motion to Compel

Access for Testing by the FDOH in which they expressed concern regarding the reliability of the

FDOH’s testing that took place after the filing of this lawsuit. On October 12, 2018, Plaintiffs

deposed two FDOH officials – Tim Dunn, 1 an environmental manager who conducts gamma

radiation surveys and testing, and John Williamson, 2 the environmental administrator for the

Bureau of Radiation Control within the FDOH. Because the FDOH testimony confirmed

Plaintiffs’ suspicions regarding the reliability of the testing at issue, Plaintiffs now supplement

their response to Defendant’s motion to inform the Court regarding this new evidence that was

not available when Plaintiffs filed their original response in opposition. 3

         The Federal Rules provide two ways in which Drummond can attempt to get the FDOH

testing admitted into evidence – either as a basis upon which one of its own experts bases his or

her opinion or through a request to take judicial notice.                      Both methods require that the

information be reliable. Regarding the former, it is well settled that an expert’s opinion must be

1
  See Deposition of Tim Dunn, attached as Ex. 1.
2
  See Deposition of John Williamson, attached as Ex. 2.
3
  The parties did not receive the transcripts from these two depositions until the evening of Friday, October 19,
2018.
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based upon reliable scientific knowledge and methods. Daubert v. Merrell Dow

Pharmaceuticals, 509 U.S. 579, 591-93 (1993).

       Regarding judicial notice, Federal Rule of Evidence 201 permits a court to take judicial

notice of facts “capable of accurate and ready determination by resort to sources whose accuracy

cannot reasonably be questioned.” FED. R. EVID. 201(b). Federal courts have construed Rule 201

to require reliability and hold that evidence requiring a Daubert analysis is inappropriate for

judicial notice. United States v. Gaines, 979 F. Supp. 1429, 1430 (S.D. Fla. 1997) (“A Daubert

hearing was found to be particularly appropriate since the Eleventh Circuit Court of Appeals has

not rendered any opinion permitting federal district courts to take judicial notice of the reliability

of PCR (or any other) DNA-based analysis.”); United States v. Mitchell, 365 F.3d 215, 252 (3d

Cir. 2004) (ruling that a scientific/technical question that merited a Daubert hearing “surely was

not suitable for resolution by judicial notice”).

       Thus, the FDOH testing is useless, as it cannot be admitted into evidence, unless and until

Defendant establishes its reliability. After only the first two FDOH depositions it is clear that the

FDOH’s radiation testing, entirely conducted after the instant lawsuit was filed, is based on

flawed methodologies, leading to biased and unreliable results.

       As an initial matter, and directly related to Defendant’s motion, the two FDOH officials

testified that the FDOH only tests properties upon which it has obtained permission to test and

that it will not test a property if the owner does not consent. Ex. 1, at 149:17-24; Ex. 2, at 56:24-

57:3. And Mr. Williamson testified that the FDOH does not take sides in litigation and is to

remain neutral. Ex. 2, at 56:9-16. Thus, as relevant to the motion pending, FDOH cannot be

“designated” an expert by either party.




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I.     The FDOH’s Mobile GPS Radiation Surveys

       Plaintiffs originally filed this lawsuit on March 10, 2017. In response, shortly thereafter,

the FDOH conducted two mobile GPS radiation surveys as a “preemptive strike,” before any

residents requested any testing, on March 24 and April 13, 2017. Ex. 2, at 59:5-11. The data

from these two surveys, the so-called “40,000 data points” Defendant touts in its motion, were

previously touted by FDOH and Dr. Brian Birky of the Florida Industrial and Phosphate

Research Institute at a June 6, 2017 meeting with Oakbridge and Grasslands residents as the

basis for the FDOH’s and Birky’s representations that the radiation levels in the neighborhoods

were not elevated and were at or below background. See Ex. C to Defendant’s Motion to

Compel, Doc. No. 63-4; Ex. 2, at 29:11-14 & 31:6-9. But, as discussed below, the “40,000 data

points” were so flawed that Mr. Williamson admitted that they are irrelevant to the radiation

levels contained in the homes and yards in Oakbridge and Grasslands. Ex. 2, at 31:22-32:2.

       The gamma radiation at issue in this case is caused by uranium and its decay products

including radium-226, which has a half-life of 1,600 years, contained in soil and rocks in the

ground, which are collectively known as “naturally occurring radioactive material” or “NORM.”

Ex. 1, at 11:15-12:20 & 33:11-12. Certain materials, such as cement, concrete, asphalt, soil, and

vehicles, can reduce radiation levels by blocking the electromagnetic rays, which is known as

shielding. Ex. 1, at 19:4-20:11 & 30:11-23; Ex. 2, at 46:8-10, 62:15-63:8 & 63:18-24. Because of

the varied and significant impact of shielding, so-called background radiation levels are taken

three feet above the soil – and not inside of vehicles and/or on top of cement or concrete. Ex. 1,

at 20:12-20; Ex. 2, at 32:15-33:3 & 42:23-45:8.

       The FDOH’s mobile GPS radiation surveys were conducted by placing multiple radiation

detectors on top of a platform inside of a FDOH minivan that, for the vast, vast majority of the




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data points (about 99 percent) drove on top of paved roads. Ex. 1, at 54:25-57:13; Ex. 2, at

28:25-29:10. Thus, given that the radiation detectors were 1) mounted to a platform, that was 2)

inside of a minivan, that was 3) driving on top of paved roads, the 40,000 data points are

fundamentally flawed data when comparing to the relevant “background” as done by both

Defendants and FDOH due to the significant shielding between the radiation in the ground and

the detectors inside of the minivan. And the majority of these points, including thousands upon

thousands of these measurements, were taken outside of Oakbridge and Grasslands, in places

like Interstate 4 and along the Polk County Parkway, and while parked in a parking lot near a

mall and apartment complex and while parked on a street in front of a house. Ex. 2, at 30:2-4,

31:10-21, 63:25-66:21, 122:24-124:10, 124:19-129:19, 131:25-132:6; see also Ex. 8 & Ex. 9.

Not surprisingly, the relatively few measurements that were when the minivan drove off road

onto some vacant lots, the radiation levels immediately increased significantly. Ex. 2, at 62:15-

63:8 & 63:18-24. Tellingly, this fact was not discussed at the June 2017 meeting with the

residents. Id.

        Upon being presented with the serious flaws with the 40,000 data points, Mr. Williamson

admitted that none of these data points are relevant to the radiation levels contained in the homes

and yards in Oakbridge and Grasslands because none of the data points came from those

locations and that if one wants to know what’s in the soil in the neighborhoods, you have to go

off road into the soil where the people live. Ex. 2, at 31:22-32:2 & 59:12-15. Thus, while it has

been presented by both FDOH and Defendants as significant in informing the safety of the

community, the mobile GPS survey was irrelevant to individual residents. Ex. 2, at 131:25-

132:6. Although the FDOH did tell residents that the most appropriate means to determine the

actual radiation levels in and around their homes was to conduct a hand-held survey of their




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properties (Ex. 2, at 32:4-9), as discussed below, these hand-held surveys were just as flawed and

biased as the mobile GPS survey.

II.    FDOH’s Handheld Residential Radiation Surveys Using the Radeye PRD

       Gamma radiation levels can be measured by using a variety of different hand-held

radiation detectors. For example, in order to protect public health and safety, the FDOH is

required by law to conduct environmental radiation surveys of both pre/unmined lands and post-

mined/reclaimed lands and produce annual reports detailing the survey results. Fla. Stat.

404.051(7); Ex. 2, at 53:1-12. These FDOH radiation surveys include alpha and gamma radiation

testing, soil sampling, and water sampling. Ex. 1, at 9:17-25; Ex. 2, at 53:13-54:1. Mr. Dunn was

one of the FDOH employees who conducted these radiation surveys and testified that to test for

gamma radiation, FDOH used either a Ludlum 12s (see Ex. 3) or a Ludlum 2401-P (see Ex. 4).

Ex. 1, at 10:21-11:3, 41:23-42:4, 132:3-5 & 150:23-151:1.

       After Plaintiffs filed this lawsuit and after FDOH conducted its mobile GPS radiation

surveys, residents in Oakbridge and Grasslands began calling FDOH to request radiation testing

in and around their homes. For some unknown reason, rather than using the radiation detectors

that FDOH uses for its statutorily-mandated gamma surveys performed for annual reports for

decades, some unknown person made the decision was made to use a different type of radiation

detector for this testing, the Radeye PRD, manufactured by Thermo Scientific (see Ex. 5). Ex. 1,

at 35:19-36:4 & 86:21-24; Ex. 2, at 49:3-5 & 87:18-22.

       Simply put, the Radeye PRD is the wrong type of detector to use for this application,

which is to detect elevated levels of naturally occurring radioactive material (NORM), such as

uranium and radium-226, as opposed to an entirely different application of detecting

artificial/man made radiation used in devices such as nuclear weapons, improvised nuclear




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devices, or radiological dispersal devices. As discussed above and as Mr. Dunn testified, the

FDOH has historically used the Ludlum detectors for the former application.

        The Radeye PRD is designed for the latter application, as it uses patented technology

called “natural background rejection” that “leverages the signature to quickly differentiate

between natural and artificial radiation by stripping away any natural background radiation

that's registering during the scan.” Ex. 5; see also Ex. 1, at 74:18-75:4, 75:15-77:23, 132:21-

133:15 & 150:3-16 (emphasis added). In other words, the Radeye PRD differentiates between

NORM, such as uranium and radium-226, and artificial/manmade radiation and automatically

rejects radiation that it identifies as NORM. Ex. 1, at 150:3-16. Because NORM is the particular

form of radiation enhanced and disposed of during mining, the Radeye PRD is designed to reject

the very radiation that it is relevant to the inquiry. This fundamental flaw in the FDOH surveys

provides sufficient additional basis to discount FDOH’s flawed data, in addition to the flawed

and biased data points to the 40,000 FDOH generated from the mobile GPS surveys.

        Furthermore, there are also questions regarding the calibration of the Radeye PRDs. The

calibration certificate produced by FDOH (Ex. 7) shows that the device was calibrated at

radiation levels 20-times higher than the levels in and around Oakbridge and Grasslands. Ex. 1,

at 104:18-106:13. But standard practice would suggest calibrating the device in the range of the

radiation levels one expects to find in the field. Id.; Ex. 2, at 72:7-73:5.

        After FDOH conducted the radiation testing, Mr. Williamson sent each resident a letter

stating that all of their results were within background levels of radiation, despite the fact that

even with the Radeye PRD rejecting NORM, the testing did reveal some radiation levels that

were significantly higher than background. Ex. 2, at 90:13-24. To do this, FDOH makes the

concept of background radiation a moving target to the public. Mr. Williamson agreed that the




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FDOH uses 6 microrem per hour, and he instructed Dr. Birky as such. Ex. 2, at 32:15-33:3. Mr.

Dunn erroneously testified that background can be as high as 20 microrem per hour. Ex. 1, at

13:4-17. And Mr. Williamson’s letters to residents used a variety of background numbers,

instructing that radiation levels of up to 17 microrem per hour (almost three times background)

were actually within background. It is unclear why the Department would send conflicting

information to these residents, but this inconsistency and its factual baselessness calls the

FDOH’s role into further question.

        And the conclusion that the radiation levels were all within background seems to have

been preordained. Prior to this testing with the Radeye PRDs, Mr. Williamson drafted a protocol

for gamma survey measurements (Ex. 6) for the FDOH employees who were to conduct the

testing. Ex. 1, at 87:21-89:24. Before any testing was even conducted, Mr. Williamson’s protocol

instructed the FDOH employees doing the testing to represent to the homeowners that “there is

no reason to be concerned.” Ex. 6; Ex. 1, at 94:25-95:25.

                               Conclusion and Prayer for Relief

        Thus, both the mobile GPS surveys and the handheld residential radiation surveys using

the Radeye PRD are fundamentally flawed and unreliable. Accordingly, the Court should deny

Defendant’s motion to compel and grant Plaintiffs all other relief to which they are justly

entitled.



                                 Signatures on following page




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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 21, 2018, a true and correct copy of the foregoing was
served electronically on all parties registered to receive electronic notice via the Court’s
CM/ECF system.


                                           /s/ Christopher L. Gadoury
                                           Christopher L. Gadoury




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